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                                                                   March 22, 2024                                             SHANGHA
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          VIA ECF
          Honorable Colleen McMahon
          United States District Judge
          United States District Court
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          Southern District of New York                                                   [ p k ~ Ctt~ll1 .
          Daniel Patrick Moynihan



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          United States Courthouse
          500 Pearl St.
          New York, NY I 0007

                                       RE:      Pacella v. Hesai Group, et al., 24-cv-876 (CM)               3            })o.H/
          Dear Judge McMahon:

                   We respectfully write pursuant to Rule I(D) of the Court ' s Individual Practices and
          Procedures to request an adjournment sine die of the Initial Pretrial Conference scheduled for
          April 18, 2024, in this putative securities class action because no lead plaintiff has been
          appointed yet and the case is still at the pleading stage. Plaintiff and all served Defendants join
          in this request.'

                  By way of background, this Action was initially filed in the Eastern District of New York
          on April 7, 2023 . (ECF No. 1.) Plaintiff asserts putative class claims under Sections 11 , 12(a)(2)
          and 15 of the Securities Act of 1933. (Id.) Accordingly, this Action is subject to the Private
          Securities Litigation Reform Act of 1995, which requires, inter alia, the appointment of a lead
          plaintiff at the outset of the case, 15 U.S .C. § 77z-1 (a)(3 ), and a stay of al I discovery and other
          proceedings pending resolution of any motions to dismiss, id. § 77z-1 (b)( I). On June 6, 2023 ,
          two movants filed competing lead plaintiff motions. (ECF No. 5 (King Ho Wong); ECF No. 7
          (Michael Dee).) On June 9, 2023 , movant Dee withdrew his motion (ECF No. 8), leaving



                 Certain indivi dual defendants located in China have not yet been served or appeared.
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Hon. Colleen McMahon
March 22, 2024
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movant Wong' s motion unopposed . On August 31, 2023, Magistrate Judge Scanlon so-ordered
the parties' stipulation staying " Defendants' time to file an answer or other response to the
complaint .. . until after the filing of an amended complaint." (0kt. Entry dated Aug. 31, 2023.)
On January 29, 2024, this Action was transferred to the Southern District of New York and
eventually assigned to Your Honor. (0kt. Entries dated Jan. 29, 2024, and Feb. 7, 2024.) On
March 6, 2024, the Court issued an Order setting an Initial Pretrial Conference for April 18,
2024, and directing the parties to propose a Civil Case Management Plan. (ECF No. 24 .)
Movant Wong' s unopposed lead plaintiff motion remains pending.

        Rule IV(M) of the Court's Individual Practices and Procedures provides: "In cases
governed by the PSLRA there will be NO Rule 16 conference and NO filing of a case
management statement unti l Judge McMahon directs that one be filed." Once movant Wong is
appointed lead plaintiff, he intends to file an Amended Complaint, which Defendants anticipate
moving to dism iss. Accordingly, the parties respectfully request that the Initial Pretrial
Conference and Civil Case Management Plan be adjourned as premature in light of the PSLRA
and this Court' s typical practice.

        Shoul d the Court maintain its preference to proceed with the conference, the parties are
fully prepared and amenable to ap pearing in person at the date and time designated by the Court,
namely April 18, 2024, at 11:45 A.M.

       This is the first request for such relief and it does not affect any scheduled dates .

                                               Respectfully submitted,

                                              Isl Robert A. Fumerton

                                               Robert A. Fumerton

cc: All counsel of record (via ECF)
